Case 4:21-cv-01236-O Document 246 Filed 07/11/23       Page 1 of 4 PageID 7815



                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

U.S. NAVY SEALs 1-3; on behalf of
themselves and all others similarly situated;
U.S. NAVY EXPLOSIVE ORDNANCE
DISPOSAL TECHNICIAN 1, on behalf of
himself and all others similarly situated; U.S.
NAVY SEALS 4-26; U.S. NAVY SPECIAL
WARFARE COMBATANT CRAFT
CREWMEN 1-5; and U.S. NAVY DIVERS
1-3,
                       Plaintiffs,
                                                  Case No. 4:21-cv-01236-O
       v.

LLOYD J. AUSTIN, III, in his official
capacity as United States Secretary of
Defense; UNITED STATES
DEPARTMENT OF DEFENSE; CARLOS
DEL TORO, in his official capacity as
United States Secretary of the Navy,

                      Defendants.


      PLAINTIFFS’ POSITION RE: TIMING OF SUPPLEMENTAL BRIEFING
 Case 4:21-cv-01236-O Document 246 Filed 07/11/23                    Page 2 of 4 PageID 7816



       On Monday, July 10, 2023, the Court ordered the parties to submit their position on the

timing of supplemental briefing in this case after the Fifth Circuit’s opinion issued on Thursday,

July 6, 2023. Dkt. 245. Specifically, the Court requested the parties’ position on “whether that

supplemental briefing should be filed presently, or whether there is some reason to wait for the

mandate to issue first.” Dkt. 245.

       Plaintiffs agree that supplemental briefing regarding the Fifth Circuit’s opinion is

warranted. But at this time, Plaintiffs respectfully request that the supplemental briefing take place

after issuance of the mandate, which is set for August 28, 2023. Undersigned counsel for Plaintiffs

is currently out of state on vacation with her family and has not yet been able to discuss the next

steps in the case with co-counsel and the Plaintiffs. Undersigned counsel would therefore

appreciate the additional time to confer with both clients and co-counsel to determine whether

further proceedings in the Fifth Circuit are warranted and to allow for the drafting of the

supplemental briefing.

                                          CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court wait until after

issuance of the Fifth Circuit’s mandate to require supplemental briefing.




                                                  1
  Case 4:21-cv-01236-O Document 246 Filed 07/11/23                   Page 3 of 4 PageID 7817



Respectfully submitted this 11th day of July, 2023.

                                               /s/ Heather Gebelin Hacker
KELLY J. SHACKELFORD                             HEATHER GEBELIN HACKER
  Texas Bar No. 18070950                           Texas Bar No. 24103325
JEFFREY C. MATEER                                ANDREW B. STEPHENS
  Texas Bar No. 13185320                           Texas Bar No. 24079396
HIRAM S. SASSER, III                             HACKER STEPHENS LLP
  Texas Bar No. 24039157                         108 Wild Basin Road South, Suite 250
DAVID J. HACKER                                  Austin, Texas 78746
  Texas Bar No. 24103323                         Tel.: (512) 399-3022
MICHAEL D. BERRY                                 heather@hackerstephens.com
  Texas Bar No. 24085835                         andrew@hackerstephens.com
JUSTIN BUTTERFIELD
  TEXAS BAR NO. 24062642                        Attorneys for Plaintiffs
DANIELLE A. RUNYAN*
  New Jersey Bar No. 027232004
Holly M. Randall
  Texas Bar No. 24128002
FIRST LIBERTY INSTITUTE
2001 W. Plano Pkwy., Ste. 1600
Plano, Texas 75075
Tel: (972) 941-4444
jmateer@firstliberty.org
hsasser@firstliberty.org
dhacker@firstliberty.org
mberry@firstliberty.org
jbutterfield@firstliberty.org
drunyan@firstliberty.org
hrandall@firstliberty.org

*Admitted pro hac vice




                                                  2
 Case 4:21-cv-01236-O Document 246 Filed 07/11/23                  Page 4 of 4 PageID 7818



                                CERTIFICATE OF SERVICE

       I hereby certify that on July 11, 2023, I electronically filed the foregoing document through

the Court’s ECF system and will serve a copy on each of the Defendants according to the Federal

Rules of Civil Procedure.



                                                     /s/ Heather Gebelin Hacker
                                                     HEATHER GEBELIN HACKER




                                                3
